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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                      §       CHAPTER 7
                                            §
AMERICAN UNDERWRITING                       §       Case No. 18-58406-SMS
SERVICES, LLC,                              §
                                            §
       Debtor.                              §

    NOTICE OF HEARING ON FIRST OMNIBUS OBJECTION TO CERTAIN CLAIMS
          ASSERTED IN THE BANKRUPTCY CASE AS SECURED CLAIMS

        PLEASE TAKE NOTICE that S. Gregory Hays, Chapter 7 Trustee (the “Trustee”) for
the bankruptcy estate of American Underwriting Services, LLC, Debtor in the above captioned
case, filed a First Omnibus Objection to Certain Claims Asserted in the Bankruptcy Case as
Secured Claims (the “Objection”) 1 seeking an order disallowing and reclassifying the claims
listed on Exhibit “A” to the Objection.

     THIS IS AN OMNIBUS OBJECTION TO CLAIMS. CLAIMANTS RECEIVING
THIS NOTICE AND OBJECTION SHOULD LOCATE THEIR NAME AND CLAIM IN
EXHIBIT A TO THE OBJECTION.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this Bankruptcy Case. If you do not have an
attorney, you may wish to consult one.

       If you do not want the Court to grant the relief requested, or if you want the Court to
consider your views, then on or before April 14, 2021, you or your attorney must:

       1.     File with the Court a written response, explaining your positions and views as to
why your claims should be allowed as scheduled. The written response must be filed at the
following address:

              Clerk, United States Bankruptcy Court for the Northern District of Georgia
              Room 1340
              Richard B. Russell Federal Building and United States Courthouse
              75 Ted Turner Drive, SW
              Atlanta, GA 30303


1
  The Objection is on file with the Clerk of the Court at the address set forth below and is
available for review between 8:00 a.m. and 4:00 p.m. or online anytime at
http://ecf.ganb.uscourts.gov (registered users) or at http://pacer.psc.uscourts.gov (unregistered
users) or a copy may be obtained from counsel for the Trustee identified below.
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       If you mail your response to the Clerk for filing, you must mail it early enough so that the
Clerk will actually receive it on or before the date stated above.

       2.      Mail or deliver a copy of your written response to the Trustee's attorney at the
address stated below. You must attach a Certificate of Service to your written response stating
when, how, and on whom (including addresses) you served the response.

       If you or your attorneys do not file a timely response, the Court may decide that you do
not oppose the relief sought, in which event the hearing scheduled below may be canceled and
the Court may enter an order disallowing your claim as requested without further notice and
without a hearing.

        If you or your attorneys file a timely response, then a hearing will be held at 10:30 a.m.
on April 21, 2021 in Courtroom 1201, Richard B. Russell Federal Building, 75 Ted Turner
Drive, S.W. Atlanta, Georgia 30303. You or your attorney must attend the hearing and advocate
your position. Please check the “Important Information Regarding Court Operations During
COVID-19 Outbreak” tab at the top of the GANB Website prior to the hearing for
instructions on whether to appear in person or by phone. If an objection or response is timely
filed and served, the hearing will proceed as scheduled.

       NOTICE IS HEREBY GIVEN THIS 5th day of March, 2021.

                                      Respectfully submitted,

                                      LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                      /s/ Henry F. Sewell, Jr.
                                      Henry F. Sewell, Jr.
                                      Georgia Bar No. 636265
                                      Buckhead Centre
                                      2964 Peachtree Road NW, Suite 555
                                      Atlanta, GA 30305
                                      (404) 926-0053
                                      hsewell@sewellfirm.com

                                      COUNSEL FOR THE CHAPTER 7 TRUSTEE




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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                       §       CHAPTER 7
                                             §
AMERICAN UNDERWRITING                        §       Case No. 18-58406-SMS
SERVICES, LLC,                               §
                                             §
       Debtor.                               §

         FIRST OMNIBUS OBJECTION TO CERTAIN CLAIMS ASSERTED IN
                THE BANKRUPTCY CASE AS SECURED CLAIMS

THIS IS AN OMNIBUS OBJECTION TO CLAIMS. CLAIMANTS RECEIVING THIS
OBJECTION SHOULD LOCATE THEIR NAME AND CLAIM IN EXHIBIT A TO THIS
OBJECTION.

       COMES NOW, S. Gregory Hays, Chapter 7 Trustee (the “Trustee”) for the bankruptcy

estate (the “Estate”) of American Underwriting Services, LLC, Debtor (the “Debtor”) in the

above captioned case (the “Bankruptcy Case”), by and through counsel, and hereby files this

First Omnibus Objection to Certain Claims Asserted in the Bankruptcy Case as Secured Claims

(the “Objection”). In support of this Objection, the Trustee shows the Court as follows:

                                      RELIEF REQUESTED

       1.      Exhibit “A” attached to this Objection and incorporated herein by reference

contains: a) the name and address of each of the claimants (collectively, the “Claimants”) who

filed secured claims (collectively, the “Claims”) that the Trustee is seeking to disallow and

reclassify pursuant to this Objection; b) the claim number applicable to each of the Claims; c) the

amount claimed to be owed by the Debtor pursuant to each of the Claims filed by the respective

Claimants; d) the proposed classification of each of the Claims as an unsecured claim; and e) the

proposed allowed amount, if any, of each of the Claims to which the Trustee objects.
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           2. The Trustee maintains that the Claims should be disallowed and reclassified by

the Court as set forth in the attached Exhibit “A”, and, to that extent, the Trustee hereby objects

to any Claims that are improperly asserted in the Bankruptcy Case or that assert a priority in an

amount or classification in excess of an allowable claim against the Debtor.

           3. Pursuant to 11 U.S.C. §§ 105, 502, and 507 of the Bankruptcy Code (the

“Bankruptcy Code”) and Rule 3007 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), the Trustee respectfully requests that this Court: a) disallow the Claims as

secured claims and reclassify the Claims as unsecured claims; b) find that the Claimants holding

the Claims are only entitled to receive a distribution on the Claims as unsecured claims; and c)

grant the Trustee such other and further relief as the Court may deem just and equitable with

regard to the Claims.

                                          JURISDICTION

           4. This Court has jurisdiction over this Objection pursuant to 28 U.S.C. §§ 157 and

1334. Venue of this proceeding is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core

proceeding within the meaning of 28 U.S.C. § 157(b).

                              PROCEDURAL BACKGROUND

           5. On May 18, 2018 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 11 of the Bankruptcy Code with the United States Bankruptcy Court for the

Northern District of Georgia (the “Court”). On June 27, 2018, the United States Trustee filed a

notice of appointment of Chapter 11 Trustee pursuant to which S. Gregory Hays was appointed

as the Chapter 11 Trustee for the bankruptcy estate of the Debtor.




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           6. On August 1, 2018, the Court converted the Case to a proceeding under Chapter 7

effective July 27, 2018 [Doc. No. 106] and directed the United States Trustee to appoint a trustee

in the Chapter 7 Case.

           7. On August 13, 2018, the United States Trustee filed a Notice of Appointment of

Interim Trustee and Section 341(a) Meeting of Creditors [Doc. No. 108] in which S. Gregory

Hays was appointed as interim trustee in the Chapter 7 Case. The Trustee remains the duly acting

Chapter 7 trustee for the bankruptcy estate of the Debtor.

                             CLAIMS SUBJECT TO OBJECTION

           8. The Trustee is in the process of reviewing claims filed in the Bankruptcy Case. As

part of this review, the Trustee determined that: a) the Trustee did not and will not administer

any assets subject to the purported lien of the Claimants and, as such, no distribution will be

made to the Claimants as a secured creditor; and b) the Claims should be disallowed as secured

claims and reclassified as unsecured claims.

           9. Prior to the Petition Date, the Debtor provided liability insurance products—as a

program underwriter based in Atlanta, Georgia—for the trucking and transportation industry,

including with regard to commercial auto liability, motor truck cargo, auto physical damage,

property, and general liability products.

           10. As part of the operations of the Debtor, the Debtor was responsible for collecting

and remitting certain premiums to applicable insurance companies. While the Debtor did collect

certain premiums, the Debtor did not maintain premium funds collected prior to the Petition Date

in segregated fiduciary accounts. Instead, the premium funds collected prior to the Petition Date

were comingled with other funds and used by James Russell Wiley and Neil Wiley for corporate

and personal uses without regard to the source of the funds. After the Petition Date, the Debtor




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held all premiums, return premiums, or other funds belonging to insurers that were received by

the Debtor in trust and turned over such proceeds as appropriate.

           11. The Claimants were among the parties who conducted business with the Debtor

prior to the Petition Date and assert the Claims to recover premiums that were not segregated in

fiduciary accounts prior to the Petition Date. The Trustee objects to the Claims because the

Trustee is not holding any specific cash or other assets subject to the purported liens of the

Claimants. There is no basis to treat the Claims as secured in the Bankruptcy Case and, as such,

the Trustee seeks the disallowance of the claims as secured and reclassification of the Claims to

unsecured claims.

                                      BASIS FOR RELIEF

           12. After a review of all proofs of claim filed in the Bankruptcy Case, the register of

claims maintained by the Court, and the books and records of the Debtor, the Trustee has

determined that the Claims should be disallowed as secured and reclassified as unsecured claims.

The Trustee reserves the right to supplement this Objection and to object to the Claims on other

grounds not stated herein. In addition, the Trustee reserves the right to object to any other claims

filed or scheduled in the Bankruptcy Case.

           13. Pursuant to Rule 3007(d)(7) of the Bankruptcy Rules, the Trustee asserts that the

Claims assert security interests in cash rather than claims against the Debtor. Since the Trustee is

not holding any specific cash or other assets subject to the purported liens of the Claimants, the

Claims should be disallowed as secured with any remaining claim allowed and reclassified as an

unsecured claim as shown on Exhibit “A” attached hereto.

           14. Pursuant to Rule 3007(d)(8) of the of the Bankruptcy Rules, the Trustee further

asserts that the Claims assert a priority in an amount that exceeds the maximum amount under




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Section 507 of the Bankruptcy Code and, as such, the Claims should be disallowed as secured

with any remaining claim allowed and reclassified as an unsecured claim as shown on Exhibit

“A” attached hereto. Since there is no basis for treating the Claims as secured claims under

Sections 503 or 507(a) of the Bankruptcy Code, the Claims are actually only general unsecured

obligations of the Estate and should be reclassified accordingly.

          WHEREFORE, the Trustee respectfully requests that the Court:

          1.     Sustain and grant the relief sought in this Objection;

          2.     Find that the Claimants holding the Claims are only entitled to receive a

distribution on the Claims as unsecured claims;

          3.     Grant the relief requested in this Objection with regard to the Claims as set forth

in Exhibit “A” and disallow the Claims as secured and reclassify the Claims as unsecured

claims;

          4.     Enter an Order, in substantially the same form as Exhibit “B” attached hereto,

granting the Objection and disallowing the Claims as secured and reclassifying the Claims in the

Bankruptcy Case as unsecured as shown on Exhibit “A” attached hereto; and

          5.     Grant the Trustee such other and further relief as the Court may deem just and

proper.

          Respectfully submitted, this 5th day of March, 2021.

                                        LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                        /s/ Henry F. Sewell, Jr.
                                        Henry F. Sewell, Jr.
                                        Georgia Bar No. 636265
                                        Buckhead Centre
                                        2964 Peachtree Road NW, Suite 555
                                        Atlanta, GA 30305
                                        (404) 926-0053; hsewell@sewellfirm.com
                                        COUNSEL FOR THE CHAPTER 7 TRUSTEE



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                                         Exhibit A
                         (Schedule of Claims Subject to Objection)


   Claimant              Address           Claim      Filed     Proposed      Allowed
     Name                                   No.      Amount       Class       Amount
 AFCO Credit       5600 North River         51       $74,337.45 Unsecured     $74,337.45
 Corporation       Road, Rosemont, IL
                   60018
 American Inter-   Thompson Hine, c/o       24      $645,472.92 Unsecured    $645,472.92
 Fidelity          Garrett A. Nail, 3560
 Exchange          Lenox Road, Two
                   Alliance Ctr., Ste.
                   1600, Atlanta, GA
                   303026
 Prosight          Gary Marsh, Esq.,        15     $5,223,997.53 Unsecured $5,223,997.53
 Specialty         Dentons US LLP, 303
 Management        Peachtree St., NE,
 Company Inc.      Suite 5300, Atlanta,
 and New York      GA 30308
 Marine and
 General
 Insurance
 Company
 Seneca Crum       Soffer, Rech & Borg,      8      $204,654.54 Unsecured    $204,654.54
 Forster           LLP, 48 Wall Street,
 Insurance         26th Floor, New
 Company           York, NY 10005
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                                          Exhibit B
                                      (Proposed Order)




                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                      §       CHAPTER 7
                                            §
AMERICAN UNDERWRITING                       §       Case No. 18-58406-SMS
SERVICES, LLC,                              §
                                            §
       Debtor.                              §

    ORDER SUSTAINING FIRST OMNIBUS OBJECTION TO CERTAIN CLAIMS
       ASSERTED IN THE BANKRUPTCY CASE AS SECURED CLAIMS

       On March 5, 2021, S. Gregory Hays, Chapter 7 Trustee (the “Trustee”) for the

bankruptcy estate (the “Estate”) of American Underwriting Services, LLC, Debtor (the

“Debtor”) in the above captioned case (the “Bankruptcy Case”), filed a First Omnibus

Objection to Certain Claims Asserted in the Bankruptcy Case as Secured Claims [Doc. No.

____] (the “Objection”). 1 The Objection seeks the entry of an Order disallowing as secured and

reclassifying the claims listed in Exhibit “A” to the Objection (collectively, the “Claims”) as

unsecured.

1
  Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms
in the Objection.
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        On March 5, 2021, counsel for the Trustee also filed a notice setting the Objection and

any responses thereto for hearing on April 21, 2021 (the “Hearing”). All requisite parties-in-

interest had an opportunity to file a response to the Objection and attend the Hearing to support

any asserted response to the Objection. No response to the Objection was filed and no creditor or

party in interest appeared to oppose the relief requested in the Objection.

        Having reviewed and considered the Objection and all other matters of record in this

Bankruptcy Case, including the lack of objection thereto, after due deliberation thereon and

finding that good cause exists for the entry of this Order and that no further notice or opportunity

for hearing is required, after due deliberation and for good cause shown, it is hereby ORDERED

that:

        1.       The Objection is SUSTAINED and GRANTED as set forth herein.

        2.       The Claims set forth on Exhibit “A” to the Objection are disallowed as secured

claims and reclassified as unsecured claims and the Clerk is hereby authorized and directed to

mark each such claim as unsecured on the claims register;

        3.       The Claimants holding the Claims are only entitled to receive a distribution on the

Claims as unsecured claims;

        4.       The Trustee is authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order; and

        5.       The Court shall retain jurisdiction over the interpretation or the implementation

of this Order.

                                      ***END OF ORDER***




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Prepared and Presented by:
                                          LAW OFFICES OF HENRY F. SEWELL JR., LLC
                                          Henry F. Sewell, Jr.
                                          Georgia Bar No. 636265
                                          Buckhead Centre
                                          2964 Peachtree Road NW, Suite 555
                                          Atlanta, GA 30305
                                          (404) 926-0053
                                          hsewell@sewellfirm.com
                                          COUNSEL FOR THE CHAPTER 7 TRUSTEE

Identification of parties to be served:

Henry F. Sewell, Jr., Esq.                      American Inter-Fidelity Exchange
Buckhead Centre                                 Thompson Hine
                                                c/o Garrett A. Nail
2964 Peachtree Road NW, Suite 555               3560 Lenox Road
Atlanta, GA 30305                               Two Alliance Ctr.
                                                Ste. 1600
Office of the U.S. Trustee                      Atlanta, GA 303026
362 Richard Russell Federal Building
75 Ted Turner Drive, SW                         Prosight Specialty Management Company
Atlanta, GA 30303                               Inc. and New York Marine and General
                                                Insurance Company
American Underwriting Services, LLC             c/o Gary Marsh, Esq.
1255 Roberts Blvd.                              Dentons US LLP
Suite 102                                       303 Peachtree St., NE
Kennesaw, GA 30144                              Suite 5300
                                                Atlanta, GA 30308
AFCO Credit Corporation
5600 North River Road
Rosemont, IL 60018                              Seneca Crum Forster Insurance Company
                                                c/o Soffer, Rech & Borg, LLP
                                                48 Wall Street
                                                26th Floor
                                                New York, NY 10005




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                    IN THE UNITED STATES BANKRUPTCY COURT
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                               ATLANTA DIVISION

IN RE:                                       §       CHAPTER 7
                                             §
AMERICAN UNDERWRITING                        §       Case No. 18-58406-SMS
SERVICES, LLC,                               §
                                             §
       Debtor.                               §

                                CERTIFICATE OF SERVICE

        This is to certify that service of the foregoing First Omnibus Objection to Certain Claims
Asserted in the Bankruptcy Case as Secured Claims was served via the United States Bankruptcy
Court for the Northern District of Georgia’s Electronic Case Filing System to all registered
parties who have filed appearances and requested notices in this case and by first class United
States mail with adequate postage thereon or electronic mail, as indicated, to the following at the
addresses stated below:
Office of the U.S. Trustee
362 Richard Russell Federal Building                 Seneca Crum Forster Insurance Company
75 Ted Turner Drive, SW                              c/o Soffer, Rech & Borg, LLP
Atlanta, GA 30303                                    48 Wall Street
                                                     26th Floor
American Underwriting Services, LLC                  New York, NY 10005
1255 Roberts Blvd.
Suite 102
Kennesaw, GA 30144
AFCO Credit Corporation
5600 North River Road
Rosemont, IL 60018

American Inter-Fidelity Exchange
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3560 Lenox Road
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Prosight Specialty Management Company
Inc. and New York Marine and General
Insurance Company
c/o Gary Marsh, Esq.
Dentons US LLP
303 Peachtree St., NE
Suite 5300
Atlanta, GA 30308
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Dated: March 5, 2021.

                                  Respectfully submitted,

                                  LAW OFFICES OF HENRY F. SEWELL JR., LLC

                                  /s/ Henry F. Sewell, Jr.
                                  Henry F. Sewell, Jr.
                                  Georgia Bar No. 636265
                                  Buckhead Centre
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                                  Atlanta, GA 30305
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                                  COUNSEL FOR THE CHAPTER 7 TRUSTEE
